                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                            DOCKET NO. 3:14-cr-00229-MOC-DCK

 UNITED STATES OF AMERICA,                    )
                                              )
                                              )
                                              )
 Vs.                                          )                      ORDER
                                              )
 JAMELL LAMON CURETON,                        )
                                              )
                   Defendant.                 )



       THIS MATTER is before the court on defendant’s Motion to Dismiss. Having considered

defendant’s motion and reviewed the pleadings, the court enters the following Order.

                                         ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion to Dismiss (#62) be

CALENDARED for oral arguments during the May 2015 Charlotte motions day.




 Signed: April 14, 2015




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